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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                              Chapter 11

    CarePoint Health Systems Inc. d/b/a Just Health                     Case No. 24-12534 (JKS)
    Foundation, et al.,

                                        Debtors.                        (Jointly Administered)
                                                                        Related to Docket No. 417


      THE COUNTY OF HUDSON’S LIMITED OBJECTION AND RESERVATION OF
          RIGHTS TO DEBTORS AND OFFICIAL COMMITTEE OF UNSECURED
           CREDITORS’ MOTION FOR ENTRY OF ORDER (I) APPROVING THE
        DISCLOSURE STATEMENT ON AN INTERIM BASIS; (II) SCHEDULING A
           COMBINED HEARING ON FINAL APPROVAL OF THE DISCLOSURE
     STATEMENT, PLAN CONFIRMATION AND DEADLINES RELATED THERETO;
     (III) APPROVING SOLICITATION, NOTICE AND TABULATION PROCEDURES
      AND FORMS RELATED THERETO; AND (IV) GRANTING RELATED RELIEF

             The County of Hudson (the “County”), by and through its undersigned counsel, hereby

submits this limited objection (the “Objection”) and Reservation of Rights to the Motion of the

Debtors and Official Committee of Unsecured Creditors for Entry of Order (I) Approving the

Disclosure Statement on an Interim Basis; (II) Scheduling a Combined Hearing on Final Approval

of the Disclosure Statement, Plan Confirmation and Deadlines Related Thereto; (III) Approving

the Solicitation, Notice and Tabulation Procedures and Forms Related Thereto; and (IV) Granting

Related Relief [D.I. 417] (the “Motion”).1 In support of its Objection, the County respectfully

represents as follows:

                                         PRELIMINARY STATEMENT

             1.      The County objects to the Motion insofar as the Disclosure Statement (and the Plan)

fail to account for a tax payment for The New Jersey County Option Hospital Fee Program (the

“County Option Program”) in the amount of $4,200,000 (the “Outstanding Payment”), which was


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             Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.



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due to the County on December 2, 2024. Said payment has not been received and is not included

in the interim budget or the Combined Plan and Disclosure Statement presented by Debtors. While

the County and representatives of the Debtors have had discussions regarding a possible resolution

concerning the Outstanding Payment, on the basis of caution, the County files this Objection and

reserves its rights.

                                   LIMITED OBJECTION

         2.     Originally enacted in 2018 as a pilot program, the County Option Program is a

program administered by the New Jersey State Department of Human Services that aims to help

local hospitals continue to provide services to low-income residents. The goals of the County

Option Program are to increase financial resources through the Medicaid program to support local

hospitals and ensure that they continue to provide necessary services to low-income citizens and

provide participating counties with new fiscal resources. Medicaid payment rates are often

significantly lower than other payors. As a result, hospitals often face uncompensated costs of

serving Medicaid patients, particularly if the hospital serves a significant share of Medicaid

patients.

         3.     In addition, the state and federal government share in the financing of Medicaid

payments. For the payments at issue, the state funds roughly 35.33% of the costs and the federal

government provides 64.67% in matching funds, stretching permissible state resources farther to

support serving low-income individuals. Federal rules permit states to use proceeds of hospital

taxes to raise the state share of new payments to hospitals. Through federal matching of the tax

proceeds, new resources are available to the hospitals for serving low-income patients. State or

local governmental hospital tax programs are in place across the country to benefit Medicaid

providers.




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         4.    As required by N.J.A.C. 10:52B-2.2, on April 15, 2021, the Hudson County Board

of Commissioners enacted an ordinance, imposing the local County fee on hospitals located within

the County, including Palisades Medical Center, Jersey City Medical Center, Hudson Regional

Hospital, Hoboken University Medical Center, Bayonne Medical Center, and Christ Hospital in

Jersey City (the “Assessed Hospitals”). Hoboken University Medical Center, Bayonne Medical

Center, and Christ Hospital in Jersey City are all hospitals owned by the Debtors in these chapter

11 cases.

         5.    Through Hudson County’s enactment of the County Option Program, the Assessed

Hospitals pay $133.33 per day of inpatient stay at each of the Assessed Hospitals (the “Tax

Assessment”). The County then transmits that tax payment, less a 9% administrative fee, to the

State of New Jersey Department of Human Services. In accordance with New Jersey law and

federal guidelines, the remaining fee proceeds are used to finance the state’s portion of add-on

payments for services provided by the hospitals to certain Medicaid patients. The federal

government matches the state’s portion of the add-on payments and the total add-on payment is

thereafter redistributed to the Assessed Hospitals. This Medicaid program is delivered through

managed care organizations, so the payments are made through Medicaid Managed Care

organizations. Assessed Hospitals pay their pre-determined Tax Assessment to the County on a

quarterly basis.

         6.    As of the Petition Date, the Debtors’ three hospitals are delinquent on their previous

Tax Assessments for a combined total of nearly $15.9 million dollars, which includes interest. Of

more critical importance, however, is that the Debtors failed to pay their quarterly Tax Assessment

(approximately $4.2 million) on December 2, 2024. Additionally, the Debtors must pay upcoming

quarterly tax assessments on March 3, 2025 and June 2, 2025. The current version of the Combined




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Plan and Disclosure Statement do not address these obligations or demonstrate they will and can

be met.

          7.   The Combined Plan and Disclosure Statement further fails to make clear that,

should the Debtor not make the Outstanding Payment or the upcoming Tax Assessments, they risk

having their participation in the program being significantly reduced or being completely excised

from the County Option Program moving forward—depriving the Debtors of the enhanced

payment. For the current program year, the interim payments to CarePoint hospitals total more

than $37 million. For the next program year, the County has the option to nearly double the size

of the program. CarePoint will receive very limited or no Medicaid payments if the County must

limit or eliminate their participation in the program.

          8.   Discussions have been ongoing with counsel for the Debtors about payment options

and timelines. While certain terms have been agreed to between the Debtors and the County, the

Debtors and the County requested the State of New Jersey’s (the “State”) approval to the settlement

terms and procedure. Counsel for the Debtors and the County spoke with representatives from the

State on January 13, 2025, and are awaiting approval from the State. If approval is provided, the

Debtors have advised they intend to file a motion to approve the settlement under Bankruptcy Rule

9019 in short order. However, at this time, there is no formal plan in place to pay the Outstanding

Payment or any future tax payments related to the County Option Program.

          9.   The effect of the failure of the Debtors to pay the Outstanding Payment cannot be

understated; not only does such failure jeopardize the County Option Program for all Assessed

Hospitals, it also jeopardizes the Debtors’ estates from 1) retaining the current benefit of the

program for years in which fees went unpaid, and 2) receiving tens of millions of dollars in

additional support for serving Medicaid patients. The Debtors’ payment of the Outstanding




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Payment ($4.2 million) and the additional quarterly payments in March and June will ensure that

the state does not later reduce the program size—including the $37 million CarePoint is set to

receive— to recover the unpaid funds and related federal matching funds.             If CarePoint’s

compliance with the program is not restored and the County must take steps to continue the

program without CarePoint, the potential impact could be nearly double. The payment of

Outstanding Payment is not only required for a chapter 11 debtor under the plain language of 11

U.S.C. § 1112(b)(4)(I), it is an obvious and immediately beneficial decision for the Debtors’ estate.

         10.   Due to the fact that the Outstanding Payment and all future tax payments to the

County for the County Option Program are not included in the interim budget or addressed and/or

disclosed in the Combined Plan and Disclosure Statement, the County must object to the Motion.

                                      Reservation of Rights

         11.   Notably, by the Motion, the Debtors are seeking only conditional approval of the

Disclosure Statement. “Conditional approval [of a disclosure statement] is just that – conditional.

The court may revisit the question of the adequacy of disclosure at plan confirmation, if

necessary.” In re St. Margaret’s Health – Peru, 659 B.R. 691, 698 (Bankr. N.D. III 2024) (citing

In re Islet Sciences, Inc., 640 B.R. 425, 460 (Bankr. D. Nev. 2022) (“Reassessing the adequacy of

disclosure from the vantage of the confirmation hearing is an efficient safeguard of the integrity

of the reorganization process.”)). “Indeed, even when a disclosure statement has been fully

approved at a separate, earlier hearing, the court may consider at confirmation whether adequate

information was provided prior to solicitation.” Ibid. (citing 11 U.S.C. 1129(a)(2) (“The court shall

confirm a plan only if all of the following requirements are met…(2) “[t]he proponent of the plan

complies with the applicable provisions of this title.”)). See also id. at 699 (“A court must always

determine, at the time of confirmation, whether the plan proponent provided adequate information




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prior to solicitation.”); In re Rupari Holding Corp., 2017 Bankr. LEXIS 3986, at *5-6 (Bankr. D.

Del. Nov. 2, 2017) (approving disclosure statement on interim basis and scheduling deadline to

file objections to adequacy of disclosure statement and confirmation of plan).

         12.   Based on the above, the County reserves its rights to further object to the adequacy

of the information in the proposed Combined Plan and Disclosure Statement, and to raise such

other and further objections to the Combined Plan and Disclosure Statement as necessary and

appropriate.


Dated: January 15, 2025                  SAUL EWING LLP

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